TRAILS CAROLINA MEDIA STATEMENT: FEB. 16, 2024
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After 5 p.m. EST on Feb. 15, DHHS threatened and intimidated parents by demanding parents
travel from all over the country to pick up their children or DHHS would take their children into
custody. The children were receiving high-level clinical care for complex mental health
diagnoses requiring experienced professionals with full knowledge of critical medications and
specialized treatment regimens. Normally, locating alternative programs and matching children
for placement takes several weeks. This negligent and reckless move by the State denied
parents the opportunity to continue to care for their children in the appropriate manner. 100% of
parents did not want their children to leave the program (See What Parents Have to Say).

Parents believe the program is safe and do not want their children’s treatment disrupted by the
State, which has continued to make reckless decisions based on false and misleading
information from the Transylvania County Sheriff’s Office. Local, experienced, and
knowledgeable DSS social workers on-site have indicated in written reports and conversations
with program staff that kids are safe, properly supervised and at no risk of harm.

Previously undisclosed by the Sheriff was the illegal and unauthorized removal of four young
boys, ages 10-12, on the evening of Feb. 6. The boys were detained at the Sheriff’s Office until
1 a.m. Parents called the Sheriff to prevent the infliction of further trauma on the boys, who had
not yet been informed of the tragedy. Parents were lied to as the Sheriff stated he did have
custody of the children, and the children were not on the premises.

We grieve with the family of the student who tragically passed and have promised to do
everything we can to determine what happened. Based upon preliminary findings by state
agencies, internal investigation, information and conversations with officials, staff, and known
experts, everything points to an accidental death. The Transylvania County Sheriff’s Office has
maintained a biased approach in what appears to be an attempt to close a program that has
successfully treated and helped restore and heal more than 2,700 families’ and saved lives.

The impact of the State’s reckless actions is far-reaching. The 18 vulnerable children forced to
leave a safe healing space against their parents' wishes have suffered permanent, serious and
unnecessary harm. There are limited places where parents can turn to find the necessary care
for severe mental health diagnoses and complex treatment; this is a tragic and unnecessary
loss for parents, children, and 75+ staff members who have poured their heart and soul into
helping kids.

The Sheriff and DHHS likely did not have the evidence to close the program and take its license
through appropriate and generally accepted judicial review. Calling and intimidating parents to
pick up their children was an attempt to achieve their nefarious goal while avoiding fair and
appropriate due process with full factual disclosures.



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